
PER CURIAM.
Affirmed. See Vernold v. State, 376 So.2d 1166 (Fla.1979); Coughlin v. State, 932 So.2d 1224 (Fla. 2d DCA 2006) (en banc); Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004); Oxendine v. State, 852 So.2d 286 (Fla. 5th DCA 2003); Mills v. State, 840 So.2d 464 (Fla. 4th DCA 2003); Hindenach v. State, 807 So.2d 739 (Fla. 4th DCA 2002).
NORTHCUTT, LaROSE, and SLEET, JJ., Concur.
